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                                                    UNITED STATES DISTRICT COURT
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                                                  NORTHERN DISTRICT OF CALIFORNIA
                   15
                                                            OAKLAND DIVISION
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                        In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                   18   Litigation,
                                                                       [PROPOSED] ORDER GRANTING GOOGLE
                   19                                                  LLC’S ADMINISTRATIVE MOTION
                                                                       SEEKING TO FILE SUR-REPLY AND TO
                   20   This Document Relates to: all actions,         DEPOSE PLAINTIFFS’ REBUTTAL EXPERTS

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ATTORNEYS AT LAW                                                             [PROPOSED] ORDER GRANTING GOOGLE’S
 SAN FRANCISCO                                                               REQUEST FOR SUR-REPLY & DEPOSITIONS
                                                                                 CASE NO. 4:21-CV-02155-YGR-VKD
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                    1          Google LLC filed an Administrative Motion of Google’s Administrative Motion Seeking
                    2   to File a Sur-Reply and to Depose Plaintiffs’ Rebuttal Experts. Upon consideration of the Motion
                    3   and the accompanying Declaration of Aarti Reddy, the Court hereby GRANTS Google’s Motion
                    4   and orders as follows:
                    5          1.     Google may conduct a second deposition of each of the following experts limited to
                    6                 four hours each, for a total of three additional expert depositions:
                    7                     a. Christopher Wilson;
                    8                     b. Robert Zeithammer; and
                    9                     c. Neil Richards.
                   10          2.     Plaintiffs must make all reasonable efforts and take all reasonable steps to schedule
                   11                 these three expert depositions during January 2024. If these experts are not available
                   12                 in January 2024, Plaintiffs must provide an explanation to Google with facts as to
                   13                 why that is the case.
                   14          3.     Within twenty-one (21) days of Google completing its final deposition of these
                   15                 experts, Google may file a sur-reply no longer than twelve (12) pages of argument.
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                        IT IS SO ORDERED.
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                        Dated: _________________
                   19                                                          Hon. Yvonne Gonzalez Rogers
                                                                               United States District Judge
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ATTORNEYS AT LAW                                                                      [PROPOSED] ORDER GRANTING GOOGLE’S
 SAN FRANCISCO                                                           2            REQUEST FOR SUR-REPLY & DEPOSITIONS
                                                                                          CASE NO. 4:21-CV-02155-YGR-VKD
